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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF RHODE ISLAND

    HOUSE OF BRANDS KJ PTY LTD.,
              Plaintiff,
                                                              Case. No. 1:18-cv-00494-WES-LDA
                   v.

    ALEX AND ANI, LLC; ALEX AND ANI
    SOUTH SEAS, LLC; and OMAR AJAJ,
    individually,
                  Defendants.


                   DEFENDANTS’ OBJECTION TO PLAINTIFF’S
              MOTION TO PRECLUDE TESTIMONY OF MARK GERAGOS

        NOW COME, the Defendants’ Alex and Ani, LLC, Alex and Ani South Seas, LLC

   and Omar Ajaj (“the Defendants”) and hereby object to the Plaintiff’s House of Brands KJ

   PTY LTD (“House of Brands”) Motion to Preclude Testimony of Mark Geragos.

                                       Brief Background

        This case stems from actions occurring in 2015 and through 2017/18. Since that

   time, the majority of Alex and Ani employees, with knowledge of the facts, are no longer

   employees of Alex and Ani. There are few people left in the company with the

   institutional memory of events occurring during that time. Contributing to this lack of

   corporate memory was the COVID -19 pandemic and technological issues, which have

   limited Alex and Ani’s ability to access current employees as well as documents served

   during the discovery phase of this case.

        HOB identified members of the Alex and Ani legal team in their initial disclosures

   and failed to depose any of them. Specifically, HOB named Nicole Ventura and Jason

   Marino, both of whom worked under Mark Geragos and who are no longer employed by

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   Alex and Ani. HOB further named Suzanne Turcotte, who was at the time general

   counsel and the Chief Administrative Officer of Alex and Ani and failed to request her

   deposition. HOB was fully aware that Mr. Geragos was corporate counsel for Alex and

   Ani and specifically chose not to depose him or any other members of the legal team.

        Mr. Geragos was not initially disclosed in the discovery process because he is Alex

   and Ani’s corporate counsel. During the trial preparation, it became clear that the

   employees identified during discovery as Alex and Ani’s legal team were no longer

   available to testify on behalf of Alex and Ani because they are no longer employed by the

   company. Mr. Geragos may be the only person remaining that can testify on behalf of

   Alex and Ani, to the events, which occurred when HOB terminated their business.

                                            Discussion

        A party may be allowed to admit testimony of a witness, which was not previously

   disclosed if the omission was substantially justified or harmless. See Fed. R. Civ. P. R.

   37(c)(1). Harmless actions include the inadvertent omission from disclosure of the name

   of a potential witness known to all parties or the failure to list as a trial witness a person so

   listed by another party. See Notes of Advisory Committee on rules-1993 Amendment.

        Here, the Defendants’ did not disclose Mr. Geragos as a witness as he served as

   corporate counsel for Alex and Ani and was known to all parties. Now, extenuating

   circumstances, beyond the control of Alex and Ani, have led to a lack of corporate

   memory and lack of knowledgeable witnesses to testify on behalf of Alex and Ani.

   Therefore, Alex and Ani has chosen Mr. Geragos to testify as their only available option

   with knowledge of the some of the circumstances surrounding this case, particularly the

   circumstances occurring when HOB terminated the Agreement. It is the Defendants’



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   belief that Mr. Geragos can testify to events he has personal knowledge of without

   waiving the attorney/client privilege.

        HOB was well aware of Mr. Geragos’ role as corporate counsel at the time the

   Agreement was terminated. Alex and Ani’s legal team was disclosed by HOB as potential

   witnesses during the discovery process. HOB could have requested to take Mr. Geragos’

   deposition at any time. Any harm caused to HOB by Alex and Ani’s “late disclosure”

   could have been avoided by HOB as they had actual knowledge of Mr. Geragos’

   existence.

        For the reasons discussed above, Mr. Geragos should be allowed to testify at trial on

   behalf of Alex and Ani.


                                               Respectfully Submitted,


                                               /s/ Richard S. Humphrey__________
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                                 CERTIFICATE OF SERVICE

 I certify that a copy of this document filed through the ECF system will be sent electronically by

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 on September 10, 2020.



                                                              /s/ Allyson M. Quay




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